EXHIBIT 28
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

CHARLES A. ALLEN,
Case No. 15 CV 07702
Plaintiff,
HON. CHARLES P. KOCORAS
vs. Judge Presiding
CITY OF CHICAGO, a municipal corporation,
Chicago Police Officers KENHASA MARTIN,
ANGELA B. COWART-SMITH, STEVEN A.
DAVIS, MARK H. DAVIS, A. SMITH, ERIC
MEDINA, STANLEY L. WILLIAMS,
DANIEL CORRAL, MARTIN J. TANNEHILL,
FRANCIS J. HESLIN, ROBERT D. WATKINS,
E.L. JOHNSON, ROY A. BOFFO,

F.J. MARCELLINO, and VINCE E. BONNER,

Defendants.

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AFFIDAVIT OF VANCE BONNER
I, VANCE BONNER, first being duly sworn, upon oath states as follows:
1. My name is Vance Bonner. I am a police sergeant in the City of Chicago.
2. As the desk sergeant, I approved the documented charges against Plaintiff on July
22, 2014 at 16:03.
2). I had no interaction with Plaintiff on July 2) or 22, 2014.

Further Affiant sayeth naught.

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